 

 

Case 4:07-cv-02577-SBA Document 10 Filed 10/09/07 Page 1 of 33

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CITY AND COUNTY OP SAN FRANCISCO

(Including SAN _FRANCISCO DEPARTMENT OF BU£LDING

INSPECTION, SAN FRANCISCO BU}LDING

INSPECTION COMM`I`SSION, and

SAN FMNCISCO P.LANNING DEPARTMENT)

UNITED STATES DISTRICT COUR"I`

NORTHERN DISTR§CT OP CALIF()RNIA

OAKLAND DIVISIGN

REGAN CARROLL TRUST, `Regan
Carrc)ll, Trusiee,

maian

VS.

CITY AN.D COUNTY OF SAN
FR.ANCESCO, SAN FRANC§SCO
DEPARTMENT OF BUILDING
INSPECTION, SAN FRANCISCO
BU:[LDYNG }NSPECTION
COMMISSION, and SAN FRANCISCO
PLANNING DEPARTMENT,

Defendzmts.

 

 

MPA ISO MOTION TO D{SMISS
CASE NO. C~O?-Z§'?? SBA

Case NO. 007-2577 SBA

MEMORANDUM OF POINTS ANI)
AUTHQRITEES IN SUPPORT OF
MOTIQN '15‘0 ZBISMISS FOR LACK OF
JURISDICTION ANB FAIL.URE TO
STATE A CLAIM OR IN THE
ALTER_NATIVE, FOR SUMMARY
JUDGMENT

{FRCP 12{13)(1); 12(13)(6); 561

Hearing Date: December ll, 2007
Time: 1:00 p.m.

Piace: Coui“croom 3, 3rci Floor
T.rial Date: TBA

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Def`endant City and County of San Francisco {sued herein as the City and Connty of San
Francisco, San Francisco Dcpartrnent of Buiidi.ng 1nspcction, San Francisco Building 1nspection
Coniinission, and San Fraricisco Planning Department; col1ective1y "City") submits this memorandum
of points and authorities in support ot` its Moiion to Disniiss For lack of Jurisdict.ion And Fa'ilure to
State a C1airn or, in The A1ternative, Fo'r Surnrnary }ndginent ("Motion") With respect to the
Cornp1eiut t"or lnjunctive Relief and Damages for Vio1ation of Civi1 Righ‘:s filed herein on May 15,
2007 {"Coniplaint") on the grounds 1diet this Court lacks jurisdiction and the Cornp1aini fai1s to state
a c1aiin.

RELIEF S()UGHT

By this motion, the City requests dismissal, With prejudice, of each c1airn for re1ief set forth in
the Cornp1aint 111ed herein This relief is sought on the basis of this Court's 1ack of jurisdiction over
one or more of Plaintiff's c1airns for re1ief(FRCP 12(1:>)(1_)) and Plaintifi`s faiiure to state claims upon
which reIieiC can be granted (FRCP 12(1))(6_)). 111 the alternative the City requests summary judgment

under Rule 56 for the reasons set forth beiow.

INTRODUCTION

in this action»…thejifth filed by P1ain€it`fs to cha11enget1re City’s conduct in connection With a

single building permit app1ication and the first to be fifed in F ederal CourtAPlaintiff again seeks a
court order compelh`ng the City to issue a building permit for its proposed project Plairitift‘s property
is located in the Dogpatch Historic District of San Francisco. The bui§ding permit application for the
Project, initiafly tiIed in 1999, Was then pursued sporadically by P1ainti1`f over the next several years
as his persona1 circumstances permitted P1aintiff admits diet the Pianning Code was amended during
the protracted pendency ot` the Application, designating the neighborhood as an historic district the
amended Code requires that 311 projects proposed 1`ort1'ie Dogpatch Historic District he reviewed for
consistency With app1icab1e P1anning Code provisions prior to issuance of the permit Such review,
Which takes the form of a Ccititicate of Appropriateness, Was never sought or received by Piainti§i

ln fact, the Comp1aint suggests that the Project shouid not be required to comply Wit§i otherwise

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applicable changes in the Planning Code that Were enacted subsequent to the filing of its Application,
but prior to final issuance of the building permit Plaintift‘s arguments are contrary to Well-
established law and, as a result, the Cornplaint should be dismissed Witliout leave to amend

”Under established law local government agencies are powerless to issne land-use permits
which are inconsistent With governing legislation.” larrer Waste Management v. Corzrm Costa Board
ofSnpervr`sors 222 Cal.App,Bd 950, 959 (1990) (italics in original). This includes permits that
violate planning and Zoning ordinances [d. Siniilarly, San Francisco Building Code § 106.4.3
prohibits issuance of building permits that are not in conformity With the Planning Code and all other
applicable `law. Any permit issued in violation of the Planning Code is legally invalid and may be set
aside as nlrch vires fa' at 958. As a result, it is a Well-settled principle of administrative law that,
until a permit is finally granted, the Building and Planning Departrnents_, and all administrative
agencies and courts considering a permit application, must apply the Plauning Code in effect at the
time of review Applying this principal, the California Supreme Court has long held that "one vvho is
not yet armed with a presently effective municipal license to proceed With construction must assume
the risk that, 'bel`ore final action fhasl been taken on [his] applicationr [citation omitted], the law
might be changed so as to require that his application be denied." Russr`an Hi`ll Inzp. Ass'n v_ Bonm’ of
Permz't Appeafs osz'ty and Cozmly ofSrm Frnncz'sco 66 Cal.2d 34 (1967), 40.

Plaintiff challenged the very same decisions of the City in state court, but dismissed its
complaint When faced vvith a demurrer setting forth the controlling lavv. Attempting to avoid the
obvious legal defects of its challenge to the City’s conduct, Plaintiff now attempts to recast its claims
as vioiations of federal law under 42 U.S.C. § l983 ("§ 3983"). Spec.ificaliy, plaintiff asserts that the
City's conduct amounts to an unlawful delegation of authority {Coniplaint at 'll€i 36-19], and that such
delegation violated Plaintiffs constitutional right to equal protection lfd. at jl°ll 20-23.§ Plai.ntiff has
failed to state claims cognizable under §1983.

"i`his case presents a local land use dispute Which revolves around the questions of state law
described above Plaintiff cannot plead facts establishing that the City delegated any land use
regulatory authority to a private entity, and this Court is not required to accept as true the unfounded

legal conclusions and sheer speculation offered in support of Plainti_ffs legal theory i\/loreover, the

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Court must apply the highly deferential rational basis standard in reviewing the equal protection
claim. Based on the undisputed line of cases prohibiting the issuance of a building permit in violation
of existing planning and building code requirements, the City simply had no choice but to refuse
issuance of a permit once it was determined that the Application had not been subjected to the
required review for consistency with the revised Planning Code. Tlius, state and local law compelled
the City to act as it did. This is more than enough to satisfy the rationality test.

Plaintift`s claims are also barred by the doctrines of res judicata and collateral estoppel
Plaintiff fails to allege that it has exhausted available administrative remedies in connection the City’s
actions as provided under the San Francisco Charter and Municipal Codes, or sought to be
compensated through resort to the state courts ln fact, as established below, although l’laintit"f filed
administrative claims challenging the City's conduct, Plaintifl" has not exhausted its state court
judicial remedies as required prior to commencing an action pursuant to §l 983 in this Court. `Nor can
it remedy this failure Under California law, challenges to local planning decisions, to the
reasonableness or legality of conditions imposed on any perinit, and to determinations by the Zoning
Administrator are all governed by the 90-day statute of limitations set forth in Government Code §
650(}9(0). l~lere, the City administrative bodies with jurisdiction over Plaintift‘s permit appeals made
final determinations on May 8, 2006, and June 14, 2006. P]aintiff filed the instant action
approximately one year later, well beyond the QO-day period mandated by §65009.

Similarly, Plaintifi‘s theory that the City unlawfully delegated authority to a neighborhood
group is time-barred 'l`lie statute of limitations defense is apparent from the face ot“ the Complaint,
which alleges that "Planning refused to determine whether the Application was complete unless the
[Dogpatch Neighborhood Association§ approved it. ll The Applieation was finally determined to he
complete by Planning in lurie ZOOl .“ Tbus, the alleged delegation occurred prior to lime 2001»»“~»»
nearly six years before the Complaint was filed By lane 2002, the limitations period for Plaintiffs

§l983 claims had run

For the reasons set forth herein, the Cornplaint should be dismissed in its entirety and without

leave to amend

MPA tSG M.O”.t`tON TO DISMISS asignalsizeo'r-\.i.)aezss:oaa~ni saan

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STATEMENT OF FACTS AND PROCBDURAL HISTORY
I. THE PROPOSEI) PROJECT

The site of the proposed Project in this case is l179-89 Tennessee Street (tlie “Property")
§Complaint at 1[3], located in the Dogpatch llistoric i)istrict of the City. {]d. at §lll, 5.] Plaintiffs
predecessor in interest filed an application to construct a four-story residential and commercial
project ("Project") on the Property in l999. [Complaint at ‘ll 5.] After succeeding to the permit
application ("Application"), Plaintiff pursued the Application sporadically, as his personal
circumstances {including the death of a family member) pennitted, over the course of the next live
years [Id. at 2 and Request for l`u.dicial Notice ("RlN") at Exh. 4 (Exh. B).] During that time, the
Planning Department reviewed and approved various aspects of the Project, including addenda
drawings §Complaint at jlji”/', 8.] The Planning Department review of and revisions to the addenda

drawings continued through November, 2005. §Icf. at $lt§_}

II. AMENDMENT OF THE PLANNING CODE APPLICABLE TO NEW
CONSTRUCTION IN THE DOGPATCH HlSTORIC DISTRICT

l.n 2003, while the Application was pending, the San Francisco Board of Supervisors adopted
legislation designating the Dogpatch Historic District and requiring review of all projects proposed in
the district for consistency with Appendix L (Dogpatch l~listoric `District) to Article lG (P'reservation
of Historical Architectural and Aesth.etic handmarks) of the Planning Code ("Appendix L"). [RJN at

3.] Article l{l requires, among other things, that

(a) No person shall carry out or cause to be carried out in a designated
historic district any construction for which a City Perrnit is required, except
in conformity with the provisions of this Article l(}. In addition, no such work
shall tal<e place unless all other applicable laws and regulations have been
complied with, and any required permit has been issued for said worlt.

(c) The Central Permit Bureau shall not issue, and no other City department or
agency shall issue, any permit for construction in an Historic District,
except in conformity with the provisions of this Article lO6 ln addition, no
such permit shall be issued unless all other applicable laws and regulations
have been complied with.

{e) After receiving a permit application from the Central Pennit Bureau in

accordance with the preceding suhsection, the [Planning] l)epartment shall

ascertain whether Section 1906 requires a Certiticate of Appropriateness for

the work proposed in such permit application l`f such Certificate is required
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and has not been issued, or it` in the sole judgment of the Departrnent the
permit application does not conform, the permit application shall be
disapproved or held by the Departrnent until such time as conformity does exit;
the decision and action ot` the Departtnent shali be tinal.

(Planning Code §1005, suhs. (a), (c), and (e) (eniphasis added).)[RJl\i` at Exh. 33 Section 1006 of the
Planning Code, in turn, requires a Certificate of Appropriateness in the case of "[a}ny construction
for which a City permit is required in a historic district.“ (Planning Code §lOOG.)[[a'.§ Section
l006.2 provides that the Planning Comrnission shall hold a public hearing on all applications for a
Certiticate of A_ppropriateness. §]d.} Appendix L became effective as of April iS, 2003. 'l`he
Cornplaint characterizes these amendments to the Planning Code as "non-substantive changes” and,
rather than acknowledge that issuance of the permit was withheld as a result ot` the fact that the
Application did not comply with the law in existence as of .i)ecernber 2005, suggests that Plaintift"

was "singled out ...t`or special handling by order of DNA. . .." [Coinplaint at 1]l5.]

III. CITY REVIEW OF THE APPLICAT!ON FOR CONSISTENCY WITH APPENDIX L

Plainti.ft‘s reason for bringing the present action, as it has 1neen with each ot` the four actions
previously filed in the Superior Court {See R.li\l at Exhs. 4-7] is to avoid what Plaintift views as the
inequitable requirement that the Proj ect obtain review and approvals based on Planning Code
provisions adopted during the pendency of the Application. [Id,l The simple truth is that the Project
has not been reviewed for compliance with Article l0 ot` the Planning Code because Plaintift` has not
applied for or received the required Certiticate of Appropriateness for the Project. Once the Planning
Departtnent discovered that the mandatory review had not been conducted, City staff notified
Piaintiff that it had not completed review of the Proj ect for consistency with the standards set forth in
Appendix L, and reasserted jurisdiction over the permit application §Icf. at Exh. 4 (Exhs. A, C).]
Plaintiit` was notified ot this determination by City personnel on Decemher 2, 2005, and again on
January 5, 2006 []cf.] On March 6, 2006, the Zoning Adrninistrator (ZA) formally requested that
DBI "route any and all building permit a‘;,tp`lications9 renewals, extensions addendums, or revisions for
the subject property to the Planning Departrnent for review” ltd (at .Exh, C)] {"ZA Detertnination"},

explaining that the "Planning Departrnent will review §the /¢‘tppiication:|1 for consistency with the

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Planning Code . . , including the adequacy of past environmental reviews . . . and regulations of the

Dogpatch Historicat .District within Article l0 of the code." [Id.]

IV. ADM{NISTRATIVE APPEALS Oli' ’_I`I-IE CI`TY’S ACTIONS

A. APPEAL OF THE REASSER'I`ION OF PLANNING I)EPARTM`ENT
JURISDICTION TO THE BULLDING INSPEC'I`ION COMMISSION

ln January 2006, Pl.aintiff filed an appeal with the BIC challenging the Planning Department’s
reassertion of jurisdiction over the Application. [Id. at Exh. 4 (see Exh. B).] After a t`ull hearing the
BIC denied the appeal ild.] Plaintiff made a request for rehearing by the Building inspection
Cotnroission ("BIC"), which was also denied []a'.l The BIC adopted its findings supporting the

decision and upholding the actions by Planning and DBl staff on i\/lay l, 2006, specifically finding as

follows:

lhe Planning Departinent acted properly in reasserting its jurisdiction over the
permit because, under San Francisco Building Code Section 106.4.3, a building
permit issued in violation of the Planni.ng Code M» or any City Ordinance ~-
would not be valid. The Planning Department is the City agency charged with
determining whether building permits comply with the Planning Code.

.i.DB.I‘s Central Perrnit Bureau never issued the site permit for the Proj ect. l\lo
permit was delivered to the Appellant Carroll or his agent Sign~offs by
various City Departments on Appellant‘s tinal plans and other structural details
that are needed before a permit can issue are not "issuance" of a permit

Because DBl's Central Perrnit Bureau did not yet issue a permit to Appellant
Carroli, Appellant has no vested right to undertake the Proj ect and DBI has no
further jurisdiction pending Planning Departrnent action on the matter

[!rf. (Exh. B, p. 2 at 6, p. 2-l at l-B).] The BlC served its written findings on Plaintif'f by mail on May
S, 2006. []d_ (Exh. B at 9)»]
B. APPEAL OF THE ZA DETERMINATION TO THE BOAR]) OF APPEALS
Plaintiff appealed the ZA `Deterinination to the Board of Appeals ("BOA”) on March Zl,
2000 [Icl. at Exh. 4 (EXh. D).] After a hearing on i\/lay l'”.?, 2006, the BOA denied the appeal and
upheld the ZA Detertn.inat.ion. §[o’.l `Plainti.ff's subsequent request for rehearing was heard and denied
on lane l¢t, 2006, and the BOA mailed its Notice of Decision and Order on lane 16, 2006. [Io’.] The

Notice of Decision and Orde'r included written notice to Plaintit”f that any court challenges to the

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BOA‘s determination would be governed by the statute of limitations set forth in Code of Civil

Procedure §1094.6. l!d.]

C. PROCEE`BINGS l`N STA’I"E COURT

Plaintiff filed an amended petition challenging the City’s refusal to issue a permit on
Septernber 12, 2006. {RIN at Exh. 4.j Sunnnons was issued, and the Cornplaint served on the City
as required by San Francisco Cliarter § 3.100, on Septernber 27, 2006. lld.] The City filed a
demurrer on lurie 22, 2007 §[d. at Exh. 8], and replied to Plaintiffs opposition on luly 3, 2007. [Id.
at Exli, 9.] Two days later_before the court had issued its tentative ruling on the demurrer WWWWWW Plaintift`
filed a request for dismissal of the state court action. §Icf. at Exh. 10.§ Plaintiff also filed three other
actions in state court challenging subsequent actions by the City. {RJN at Exhs. 5-“/.]

STANDARD {)F REVIEW

Under Pederal Rule of Civil Procedure lZ(b)(G), a motion to dismiss should be granted if it
appears beyond a doubt t.‘nat the plaintiff “can prove no set of facts in support of his clairn which
would entitle hirn to relief.” Conley v. Gz`bsc)n, 355 U,S. 41, 45~“46 (l957). For purposes of such a
motion, the complaint is construed in a light most favorable to the plaintiff and all properly pleaded
factual allegations are taken as true. Je)zkr`ns v. McKei`rhen, 395 U.S. dl l , 421 (l 969); Everest arch
Jennfngs, fac. n Amerierm Mororz`srs fns. Co., 23 F.3d 226, 228 (9tli Cir. l994). Alth.ough the facts
alleged by Plaintiff are assumed true under a motion to dismiss, the Court is not required to accept as
true unwarranted deductions or unreasonable inferences or conclusory legal allegations cast in the
fon'ri of factual allegations See Munufacrured Hc)me Commimz'ri`es Irzc. v. Ciry ofSan Jose, 420 F_Bd
l022, l035 (9th Cir. 2005); Western ill/fining Cozmci'l v. Watt, 643 l““.2d 6l 8, 624 (9tl:i Cir. lQSl)b

Federal Rule of Civil Procedure lZ(b)(l) authorizes a party to seek dismissal of an action for
lacl< of subject matter jurisdiction ""When subject matter jurisdiction is challenged under Federal
Rule of Procedure lZ(b)(l), the plaintiff has the burden of proving jurisdiction in order to survive the
motion.” form Corp. v. Comrnunrli'esfor rt Be!£er Eitv’r, 236 lilde 495, 499 (9th Cirz 200l_lv “ ‘A
plaintiff suing in a federal court rnust show in his pleadingv aftirrnatively and distinctly, the existence

of whatever is essential to federal jurisdiction and, if lie does not do so, the court, on having the

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defect called to its attention or on discovering the same, must dismiss the case, unless the defect be
corrected by amendment.’ “ ]a'. (quorr‘ng Smirh v. McCiiHough, 270 U.S. 456, 459 (l926)). Subject
matter jurisdiction does riot exist over claims which are not ripe for adjudication Cardenas v. /lrzzar',

fill F.Bd 929, 933 (ch Cir. 2002).

ARGUMENT

1. rios coiviPLAINr sales 'ro s-TATE A ciiAn\/r ron names unions 42 U,s.c,
§§983.

To prevaii on its claims under §1983, Plaintitt` inust snow that “(l) acts by the defendants (2)
under color ot` state law (3) depriv{ed][it] of federal rights, privileges or immunities land} (4)
caus[edl{.it] damage.” Thor)?ton v. Cz‘¢‘y ofSr. Helens_, 425 F.3d li$S, 1163~64 (ch Cir. 2095)(cz`rin'g
Shoshone-Barmock Tribes v. Ic!czho Fz`Sh & Game Comm ’n, 42 F.3d l278, 1284 (9tli Cir. l994)).
Section l983 “‘is not itself a source of substantive rights,’ but merely provides ‘a method for
vindicating federal rights elsewhere conferred.”’ Icz'. Accordingly, Plaintii`t` must establish that the
City’s alleged actions deprived it of some right, privilege or immunity protected by the Constitution
or laws of the United States. Plaintiff has failed to allege such a deprivation, and the §1983 claims
nrnst therefore fail.

The federal courts have repeatedly recognized that a local agency's compliance Witli its own
land use regulations does not present an interest protected under § 1983 ”l“ hese cases take tire view
that local zoning and land use disputes represent an area “upon vvhicli the federal courts ought not to
enter unless rio alternative to its adjudication is open." ercho Pa[os Vem’es Corp. v. C.ity ofLagima
Beach, 547 F.Zd l092, i094 (9th Cir. l976). Cf San Remo Hotel v. Cz'ty and Cozmty ofScm
Francisco, 145 F.}d 1095, llOS (9tli Cir_ l998)(9tl1 Circuit has "consistently held that land rise
planning is a sensitive area of social policy that niects the first requirement for Puilman abstention“
(citations omitted).)

ii ederal courts Were not created to be "tlic Grand l\/lui`ti ot` local Zoning boards," Hoeirne ix
Cow-zry of`Srm Benifo, 379 F-.Zd 529, 532 (Qtl'i Cir. 1989}_., nor do they “sit as [ l super zoning board[sl
or l l zoning board[s] of appeals.” Raskiewicz v. Tow.~i ofNew Bosron, 754 F.Zd 38, 44 {l st Cir.)5 carr

rfcez`ecf, 474 U.S. 845 (l 985). "Wliile the Suprcrnc Coort has yet to provide precise analysis

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concerning claims of this sort, we feel confident that where, as here, the state offers a panoply of
administrative and judicial remedies, litigants may not ordinarily obtain federal court review of local
Zoning and planning disputes by means of 42 U.S.C. §l983.“ Id. Resort to §l983 to resolve such
inherently local disputes is, therefore, disfavored, and the courts have specifically rejected attempts
like the one at harte create a constitutional question out of a local agency‘s decision on a
development application Chipll`n Enterpri'ses, fric. v. Cir_v ofLeba)ion, 7l2 F.Zd l524, 1528 (lst C'ir.
1983) (where planning board, after granting preliminary approval to a development project, denied a
building permit for the _project, court found that "[a] mere bad t`aitli_ refusal to follow state law in such
local administrative matters simply does not amount to a deprivation of due process where the state
courts are available to the correct error"); C}zougrz`s v. Bourd oprpeafs of Town ofAJ/zdover, 81 l
F.Zd 36, 112-43 (lst Cir.), carr denierl, 483 U.S. lOZl (l987)_; Sucesz`on Suarez v. Ge!aberr, '70l P.Zd
23l , 233 (lst Cir. l983); Creatz`ve Erivr`ronmen!s v. Estabrook, 680 'F.Zd 822, 829*30, 832 n. 9 (lst
Cir.), cert denied 459 U_S_ 989 (l982)(*’[l’]roperty is not denied without due process simply because
a local planning board rej ects a proposed development for erroneous reasons or makes demands
which arguably exceed its authority under the relevant state statutes."); Coufv. DeBlaker, 652 F.Zd
585, 590 n. ll (5th Cir. 1981), cert denied5 455 U.S. 92] (l982l. ln these cases, "[e]ven where state
officials have allegedly violated state law or administrative procedures, such violations do not
ordinarily rise to the level of a constitutional deprivation." .PFZ Properrz`es, luci, v. Rc)dri`guez, 928
F.Zd 28, 3`l , (lst Cir. l99l), cert granted 502 U.S. 956, cert denied as improvidently granted 503
U.s. 257 (i 992)_

Denial of building permits, regardless ot` the motivations behind such denial, and even where
the issuing agency's actions violate state law, represent "a matter of local concern, properly and fully
reviewable in the state courts." Chrplz`n, strpra, 7l2 F.Qd at l.527. For the reasons set forth in these

cascs, and for additional reasons argued below, Plaintiff has failed to state a cognizable claim under

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A. 'I"HE COMPLA!NT FAILS TO STATE A CLAIM OF UNLAWFUL
DELEGATION UNDER SCHULZ 171 MILNE.

Plaintiff relies on the case of Schuli: v. Mr'lne, 849 F.Supp. 708 (N.D. Cal, l994) for the
proposition that conduct of the Planning Department constituted an unlawful delegation of power to a
private body. [Complaint at il 5.} The analogy, however, is unpersuasive

ln the Schu[z case, the plaintiffs alleged that the City had delegated authority to review project
plans and approve permit applications to a neighborhood review board. Id. at 7l0, 7l2»l3. The
Schulz*s alleged that the authority of the board was created pursuant to a resolution ofrhe Ci`ry
Planm'ng Commi'ssr`cm, that the city repeatedly required them to submit plans to the board and
informed them that they would have to "satisfy" the board before the city would tal<e any action on
the permit application Id. at 7l2i The court concluded that, for purposes cfa motion to dismiss, the
Schulz's had alleged enough facts to create an inference that the city had unlawfully delegated its
decision-making authority to the board [cl. at 7l3. The allegations of the Sc!ralz case are not
analogous to those presented here.

ln this case, Plaintit`f does not allege that the Plann.ing Cornmission or any other City body had
formally delegated authority over projects in the Dogpatch l\leighborhood to any individual or entity
through ordinance or resolution Plaintiff does not allege that the City required it to submit plans for
approval to the Dogpatch l\leighborhood Association_, but only suggests that the City had directed a
previous owner to "review the project" with the association {Complaint atil 5.] The Complaint
alleges that "`Planning refused to determine whether the Application was complete unless DNA
approved it." Plaintiff does not allege when it submitted materials constituting the Application to the
City, but alleges that the Planriing Departrnent determined the Application to be complete in 2001
[Com.plaint at ‘l§l§ 6, 7.] lhe Application was then apparently processed with no further input from the
association for the next four years, during which the City reviewed and approved various aspects of
the Application, the project was revised, and a number of approvals were given by the City. llcf. at ll
8.§ .l)uring that same period, the Plan.ning Code was revised to designate the Dogpatch Neighborhood
as an historic district, and to require that all construction projects in that neighborhood be submitted

to review by the Planning l:)epaitrnent for consistency with the provisions of the code applicable to

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such districts Thc Cornplaint concedes that the neighborhood was designated as an historic district
{Cornplaint at jt lll, but characterizes the City's application of the Planning Code provisions in effect
in 2005 as "unreasonable, arbitrary, and capricious conduct, without any rational basis“ {id. at ll 15],
inferring that the City enforced the law in existence at that time "by order of {the association]." These
allegations are insufficient to establish even an inference that the City mereiy "rubber~stamped" the
decisions of the neighborhood association Rather, the allegations make plain that the neighborhood
association did not interfere in any way with the City's determination of the merits of Plaintiffs
Application, and in fact did not express any views as to the Application at all after iune of 2001 .l

As in the case of Kay v. Pleeer County, 2l9 fFed.Appxi 679 (9th Cir. 2007)2, Plaintiff has
failed to convert this local land use dispute into a federal claim by alleging unlawful delegation As
the court held in that case "[t]he extent to which state actors may deiegate government functions is, in
the first instance, a question of state iaw` .Even if federal law is implicated, the complaint does no
more than state the legal conclusion that an unlawful deiegation occurred That conclusion is
contradicted by the facts alleged in the compiaint," which indicate that the City did not delegate its
decision-making authority to the Dogpatch Neighborhood Association. Id. at 681. .Rather, the
Cornpi.aint confirms that the City, and not the neighborhood association, reviewed and approved
various aspects of Plaintift‘s Application over the period from 1999-2005 {Complaint at WM 7-8.]
Whether a member of the neighborhood association or some other member of the public may have
notified Planning staff that the Application did not comply with the Planning Code as of December

2005 is immaterial, and does not create an inference that the City has "rubber stamped" the decisions

of a nongovernmental body

 

l The Court is not required to accept as true the Compiaint's unsupported speculation
concerning the reasons for the Planning Dcpartrnent's reassertion of jurisdiction [See Coinplaint at ll
10 ("Plaintift` was not told the circumstances of or the authority under which Corrette alleged
removed the drawings, but believes it to be under mysterious and aberrant circumstances[.] Corrette
…ostensibly removed the drawings after being contacted by a member of [the association]").} See
Manufac!ured Horrie Communities feca v. Ct`ty ofSori Jose, 420 F.Bd l022, l035 (9tb Cir., 2005);
Wesfern Mi¢zfng CGINZCI`[ v. Wcu‘l, 643 iide olS, 624 {9th Cir. l93i).

t 2 Pursuant to Federal R'uie of App, Proc. fill and l\tinth Circuit Rule 36-3, a copy ot` that
decision is attached hereto.

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B. THE COMPLAINT FAILS TO STATE A CLA£M FOR DENIAL (}F EQUAL
P_R()TECTI()N

Plaintiff‘s equal protection claim also fails as a matter of law. lhe U.Si Suprerne Court
formally recognized class-of~one equal protection causes of action in Viflage of Wiflowbrook v.
O[ech, 528 U.S. 562 (20()0) (per curiam). ln Olech, a city conditioned Water service for a property on
the owners granting a 33-foot easement, even though the city required only a l5-foot easement frorn
every other property owner. ]d. at pt 563. l`he Suprerne Coart allowed the case to proceed on the
class-of-one theory, recognizing claims where a "plaintiff alleges that she has been intentionally
treated differently from others similarly situated and there is no rational basis for tlie difference in
treatment." IcZ. at p. 564 [einpliasis added].3 Thei‘efore, in order to establish a class~of~one equal
protection violation based upon the alleged discriminatory application of a facially nondiscriminatory
law, in a case that does not involve a suspect class or a fundamental right, a plaintiff must prove that
(l) it Was treated differently from persons or entities similarly situated; (2) the unequal treatment Was
intentional; and (3) the unequal treatment Was not rationally related to a legitimate government

purpose fbid. 'l`lie coniplaint does not satisfy these requirements

1. l’laintlff Fails To Allege Facts Silpporting a Claim For "Class of One"
Discrimination

'l`he Cornplaint contains no allegations to support an argument that Plaintiff is a "class of one"
that has been subjected to disparate treatrnent. ln fact, the only allegations on the subject are
unfounded inferences and conclusory statements alleged as .fact. {Cornplaint at ill 5 (the City "singled
Plaintiff out for special handling by order of Dl\lA, . ..").] No facts are alleged to support the
conclusory allegations and the Court is not bound to accept such allegations as true See
Mcznufaclured Ho'me Comnzum'ties Inc. v. Ci`ty ofSan Jose, 420 P.Bd l022, l{)35 (9tli Cir. 2005);
Wesrern Mining C 014)1€1'! v. Wnrt, 643 F.Zd GlS, 624 {ch Cir. l98l). Plairitiff has not alleged that it
Was “intentionally treated differently from others similarly situated and that there §was] no rational

basis for the difference in treatment.” Sqnaw i/a!!ey Dev. Co. v. Goz’dberg, 375 ¥.Bd 936j 944 (Qtli

 

3 Plaintiffhas not alleged that it belongs to a suspect class or that entitlement to a building
permit that violates local law is a fundamental right

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Cir. 2004) (internal quotation marks omitted). Unsupported legal conclusions are insufficient to
support Plaintift‘s equal protection claim

Nor can Plaintiff amend to correct this defect, since the City*s refusal to issue a permit in 2005
\vas based on Planning Code requirements that are facially nondiscrirninatoryq and apply to all
projects constructed in the Dogpatch Historic District after the effective date of the code section
Planning Code §§lOO$, l006. line actual bases for the City's decisions at issue in this case are
reflected in the determinations of the BlC and BOA that the Planning Departrnent acted properly
When it reasserted jurisdiction over the Application for purposes of bringing the Application into
compliance With the Planning Code. [RJN at Exh. 4 (Exhs. A-D).} Plaintiffs simply cannot allege
that the City has treated it unfairly by requiring that its Application comply with the law in existence

at the time before it issued a building permit

2. The City Had a Rational Basis For Refusing to lssue Plaintiff a
B'ullding Permit.

in evaluating Plaintifl‘s equal protection claim, the Court must apply the highly deferential
rationality standard See Arme)idariz v. Pe'rzman, 75 F.3d l3l l, l326 n. l l (91h Cir. l996). Plaintiffs
unsupported legal conclusions are insufficient to support this claim Kay v. Pfacer Couury, snpra, at
68l.

.ln this case, the City had a rational basis for refusing to issue Plaintiff the requested permit in
2005: California law and San Francisco's Municipal Code forbade it. lt is long settled law in this
state that building pro}` ects must comply Witb the Planning Code in effect at the time of permit
issuance Wells Fa'rgo Brmk v. Towrz of Wooa’side, 33 Cal.3d 379 (l983); Selby Rea[ty Co. v. Cify of
Sari Buemzveutnru, lO Cal.$d llO (1973); Rzrssz'an f‘[ii'[ ]niprovemenr Assoc. v. Boa.m’ ofPermz`?
/lppeals, 66 Cal.2d 34 (l967). This rule extends even to changes in the law adopted after initial

administrative decision on a permit

§T]he mere application for a building permit or the submission of plans Wliicli
comply With the law in existence at the time of such submission do not entitle
an applicant to the issuance of the permit if, in the interim between
administrative denial of the permit and the appeal from that denial, an
ordinance has been enacted Which Would prohibit the project contemplated

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Selby finally Co., 10 Cal.3d at i25. ln fact, "even a permit vvhich {has] achieved administrative
finality can be revoked on the basis of a subsequent change in the zoning laWs." West Co.cist
Aa’verti`st`ng v. Cz'l‘y and County ofSan Frczncisco, 256 Cal.App.?.d 357, 360 {l967). 'l`his concept has
been specifically applied to the decisions of San Francisco's BOA {fornierly known as the Board of
Perrnit Appeals) Which, “in its de novo review is bound to apply the zoning ordinances in effect at the
time of its final decision, not those in force at the time of preliminary proceedings before any
subordinate agency." Russz.`au Hi[l Improvement Assn., supra 66 Cal.?)d at 46. As a result, the
Planning Departrnent, the BIC and the BOA Were each required to apply the existing Planning Code
(.including Article l0 and Appendix L) to the Project at the time of their respective reviews of the
Application. lt the permit had been issued vvithout the required Certiticate of Appropriateness and
Planning Cornniission review, the permit would have been invalid as a matter of lavv. S.F, Building
Code § 106.4.3; Lnnd Waste Management, snpra, 222 Cal.App. 3d at 958.

Sirnilarly, reviewing courts must apply the law in existence at the time of their decision, rather

than at the tirne that a permit is issued or denied Wells Fargo Bank, 33 Cal.3d at 385; Selbj/’ finally

Co., 10 Cal.3d at ll{).

lt is the prevailing rule that a reviewing court Will apply the law in existence at
the time of its decision rather than at the tinie the permit Was denied [cite.]
The purpose ot` this rule is to prevent an appellate court from issuing orders for
the construction of improvements contrary to presently existing legislative
provisions [Cite.] lndeed, even after a permit has been issued, it may be
revoked by an administrative body on the basis of a subsequent change in the
zoning laws unless the permitee has made substantial improvements in good
faith reliance on the permit

Se[by Ren!iy Coi, l0 Cal.Bd at 110. Where, as here_, no permit has issued, there can be no substantial
reliance thereon to shield the Plaintiff from the prevailing rule. West Coast Adverti'sing, 256
Cal.App.Zd at 360. i\lor can `Plaintift` satisfy the only recognized exception to the rule_, which is
limited to cases Where a subsequent ordinance is enacted with the specific purpose ot` frustrating the
developers plan. See Selby Real!y Co., l0 Cal.3d at l26, t`nz ll. As a result, Plaintitt is not entitled
to issuance ot` the permit he seeks as a matter of iavv.

"As stated in [Li:muli v. Counry ofMonte/rey, l39 Cal.App.$d 934,936-937 t l933)§, the grant of

a land»use permit or variance is an adjudicatory act, rather than a legislative one. iCitations.l

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Adjndicatory decisions rnust be consistent vvith applicable land-use legislation [Citations.§ Thtis,
local government entities cannot issue land-use permits that are inconsistent vvith controlling land-use
legislation, as embodied in zoning ordinances and general plans." Lcma‘ Wasre Managemem, supra,
at 957~58. lnstead, "a land-use perniit vvhich is inconsistent With existing zoning ordinances can be
issued by a responsible administrative entity only after the applicable ordinances have been amended
by the legislative process." [d. at 959. In short, “{u§nder established law, local government agencies
are powerless to issue land~use permits vvhich are inconsistent with governing legislation." Ia’. at 959
(Cz`tz'ng Orz`nda Assn. v. Board Oszrpert'isors, lSZ Cal.App.3d 1145 (1986), l lél-l 162, l lt§';’~l l69),
The City thus had a rational basis for refusing to issue a building permit to Plaintit`f in
Deceinber of 2005: That perinit, if issued, vvonld have violated San Francisco's Planning and
Bnilding Codes because the proposed project bad not been reviewed for consistency vvith the design
guidelines applicable to the Dogpatch Historic District, and had not received the required Certiiicate
of Appropriateness mandated by the Plarining Code. Such a permit would have been unlawqu as ot`

the date of iss'uance, in violation of Building Code § l06,4.3.

C, PLAINTIFF'S §]983 CLAIMS ARE BARREI) BY THE STATUTE OF
LIMITATIONS.

Botli the first and second count ofthe Cornplaint rely on the City‘s alleged "urilawfnl
delegation" ot` authority to the Dogpatch Neighborhood Association as a basis for relief under §1983.
{Coinplaint at gil l7-l9; 21-23.} Hovvever, the only act ot" delegation alleged in the Cornplaint is the
Plarining Departrnent‘s alleged refusal to deem Plaintit`f‘s application ”coinpiete" until the association
had "approved" the project [Id. at ‘;§ 6.] The Cornplaint does not allege that the City directed Plaintiff
to seek approval from the association [See iri. at‘ll 5]. Rather, the only City conduct alleged in support
of the delegation theory is that "Plarining refused to determine whether the Application Was complete
unless DNA approved it." {[a’. at ll 5.] Hovvever, the Coinplaint also alleges that “lt§he Application
vvas finally determined to be complete by Planning in lone ZOOl ." gift at il ll Thus, according to the
Cornplaint, the final act reflecting the alleged defegation occurred in lone 200£. Accordi_ngly, the
statute ot` limitations on these clairns ran in Jiine, 2002

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“Por actions under 42 U.S.C. § l983, courts apply the forum state's statute of limitations t`or
personal injury actions....” Wz.`!son v. Garcz'rz, 471 U.S. 26l,27l-72, 2'76, (l985); lanes v. B!anas 393
.F.Sd 9l8, 927 (9tli Cir. 2004). ln lone of 2002, the statute of limitations for personal injury actions
was l year See former Code of Civii Proc. §340. On lanuary l, 2003, Code of Civil ’Procednre
§ 335_l became law, extending the prior limitations period applicable to personal injury actions (and
correspondingly to federal civil rights claims) from one year to two years. See Cal. Code C.iv.Proc.

§ 335.1. Plaintiff does not benefit from this new two-year statute oi` limitations Rath.er, since its
claims herein accrued before ianuary l, 2003, the one-year statute governs See Krusesky v. Baugh,
138 Cal.App.Sd 562 (1982) , (“{Sltatute{s} fare] presumed to be prospective only and will not be
applied retroactively unless such intention clearly applies in the language of the statute itselt`.”); see
also Laizdgmfv. USI Fz`lm Products, 5l l U.S. 244, 265-66 (l994) (“[Tlhe ‘principle that the legal
effect ot` conduct should ordinarily be assessed under the law that existed when the conduct took
place has timeless and universal appeal.”’).

`,Elven if Plaintit`f could establish prohibited delegation of authority under Scfmlz, by its own

admission, any delay caused by such delegation ended in ..'ZOE)l-Wnearly six years before Plaintiff filed

its Cornplaint.

ll. RES JHDICATA AND COLLATERAL ESTOPPEL BAR PLAINTIFF'S CLAIMS.

ln order to challenge the decision of an administrative agency, a plaintiff must demonstrate
that he has exhausted all available administrative procedures - including all available administrative
appeals Coaclzelln Vulle}»'Mosqzn`z‘O & Vector Contro[ Dist. v. Caliy"oraz'a Pablic Employment
Relations Br£., 35 Cal.4th l()"/'Z, illth (2005). "ln brief the rule is that where an administrative
remedy is provided by statute, relief inost be sought frorn the administrative body and this remedy
exhausted before the courts will act~" Abelfez'm v. .Districz‘ Coiirr of`Appea£, l"/' Cal.Zd 28th 292
(l94l). ln addition to exhausting administrative remedies, a plaintiff rnust also exhaust judicial
remedies "[.lludicial review of any decision of a local agency . . _ may be had pursuant to Code ol`
Civil Procedure section 1094.5, only ii` the petition t`or writ of mandate pursuant to such section is

filed . . . not later than the 90th day following the date on which the decision becomes tinal," Code

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Civ. Proc. § l()94.6, subd. (b). The California Suprerne Court has held that "unless a party to a quasi-
judicial proceeding challenges the agency’s adverse findings made in that proceeding, by means of a
mandate action in superior court, those findings are binding in later civil actions.” Johnsoa v, Cily of
.Lom'a Lz`nda, 24 Ca.l.4th 6l , 69-7(} (2000). “Exhaustion of judicial remedies . . .is necessary to avoid
giving binding effect to the administrative agency's decision, because the decision has achieved
finality due to the aggrieved party's failure to pursue the exclusive remedy for reviewing
administrative action." fbi'd.; see also City and County ofSan Franci`sco v. Ang, 97 Cal.App.Bd 673 ,
677 a 679 (l979).

ln Briggs v. Cr`ty ofRon`ng Hz`lls Esrates, supra, 40 Cal.App.4th 637 (1995), a homeowner
sued alter the issuance of a building permit was conditioned on the removal of an existing decl<. Id_
at p. 640. lhe trial court granted summary judgment in favor of the city finding the homeowners §
l983 cause of action was precluded by the failure to challenge the city's action directly by
administrative mandamus." [bz`a’. After analyzing and discussing state and federal law, the Court of

Appeals affirmed lite court observed that the homeowner

never sought to set aside the city’s decision by petitioning for a writ of
administrative mandamus pursuant to Code of Civil Procedure section l094.5.
l’laintiffs could and should have sought judicial review of the city‘s decision by
administrative mandamus_; if the condition to which plaintiffs objected was
improperly imposed, it could have been vacated pursuant to section 1094.5
Plaintiffs completely bypassed the proper procedure and instead sought
damages and injunctive relief by this independent action.

jd. at p. 645_ The court went on to state that the failure to pursue administrative and judicial relief
estopped the homeowner from relitigating the same issues, even in a § l983 cause of action Iri. at

pp_ 645 - 648 Citing an`ckerboc!cer v. Cz`ty ofStockton, l99 Cal.App.Bd 235 (1988), it explained the

rule:

[Tlhis rule is not the doctrine of "failure to exhaust administrative remedies."
Rather it is a form of res judicata, of giving collateral estoppel effect to the
administrative agency's decision, because that decision has achieved finality
due to the aggrieved party’s failure to pursue the exclusive judicial remedy for
reviewing administrative action

]a’. at pp. 645 - 646. 'l`his rule is recognized by the federal courts as well. in fact, "the highest court

in the land has held the principles of res judicata and collateral estoppel apply to federal civil rights

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statutes." ]d. at p. 646 [quoting Uliz`versz'ty ofTennessee v. Elll`ot, 478 U.S. 788 (l986)]. Th€ United

States Supi'eme Court lias held

that Wheu a state agency acting in a judicial capacity resolves disputed issues
of fact properly before it Wl.iich the parties have had an adequate opportunity to
litigate1 federal courts in actions under tiie reconstruction civil rights statutes
(42 U.S.C. § 1983 et seq.) must give the ageiicy‘s factfinding the same
preclusive effect it would be entitled to in the state courts

Urzz‘v. ofTenn. v. Ef[c`oi, 478 U.S. at 789

1. Plaintiff Failed to Exhaust State Judicial Remedies.

Here, Plaintiff challenged the very same actions of the City_refusal to issue a building
permitibefore two of the city's administrative agencies: the BIC and the BOA. §RJN at Exh. 4 (and
exhibits thereto).} ln both instances, Plaiutit`f's claims were defeated [Id.} Plaintiff challenged those
losses by writ petition to the Superior Court. [Itz‘. at Bxh. 4.] However, Plaintiff did not secure a
judgment on the merits from that court. Rather, after the City filed and fully `oriefed its demurrer to
the petition, but before the court could rule on the demurrer, Plaintiff filed a request for dismissal of
that action [Id. at Exh. l().} Plaintiff has thus failed to exhaust state court remedies for the conduct
complained of in this action Moreover, for the reasons set forth below, Plaintiff cannot cure this

defect by filing a new action in the Supet'ior Court.

2. The Statute of Limitations Set Forth in Government Code § 65909 Bars
Plaintiff's Claims.

Plaintiff seeks to challenge the City’s refusal to issue a building permit that does not comply
With the Pianning Code in effect at the time of issuance Tliat decision by the City, in turn, is
embodied in two determinations by City administrative appeals bodies, the BOA and the BlC, {RJN
at Exh. 4 (Exhs. B, D}.] Tlie statute of limitations applicable to claims challenging these
administrative determinations is set forth in Government Code § 65009, Which applies a 90-day
limitations period to all claims challenging local planning decisions, Zoning Administratot'
detenninations, and all decisions of the BlCd `l‘lius, under Government Code § o§t){)§{c)(l }, Plaintiff
had 90 days following each of the two challenged decisions to file and serve a petition attacking that

decision Plaintiff failed to timely file a Writ petition before the Superior Court, then dismissed the

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late-filed petition after the City filed its detntirrer, but before the Superior Co'urt had ruled on the
demurrer. [RJN at Exhs. 4, 8-10.] Plaintiff has not obtained a final ruling on the merits from the
Superior Court on its challenge to the City’s determinations, and thus has yet to exhaust state judicial
remedies lt is now too late for Plaintiff to do so.

Governn'ient Code Section 65009, subdivision (c)(l)(E), provides that the QO»day statute of
limitations applies to actions seeking "[t]o attack, revievv, set aside, void or annul any decision on the
matters listed in Sections 65901 and 65903, or to determine the reasonableness, iegal_ity, or validity ot`
any condition attached to a variance, conditional use permit, or any other pern'.iit."sgt Subdivisiori
(c)(l.)(F) similarly imposes a 9()-day limitations period on “any of the proceedingsj acts, or
determinations taken, done, or made prior to any of the decisions listed in [subparagrapli (E).} “
Section 65901, in turn, applies to determinations l:)y the City’s Zonin g Adniinistrator (Gov't Code §
659()1), and §65903 applies to determinations by the City's Board of Appealsi Gov't Code §65903.
After the expiration of this tinie period, "all persons are barred from any further action or
proceeding.“ Gov't Code § 650()9(e); Trrwi'$ v. Coumy ofSarzra Cr'uz, 33 Cal.dtli 757, 765 {2004).

"fliis QO»day statue of limitations applies to both Plaintift"s damage claims and their claims for
declaratory or similar relief ln a parallel context, the Califomia Stipreme Court has determined that
the QO-day period of limitation set forth in Govern.inent Code section 66499.37, Whicli contains
language analogous to that contained in Govemment Code section 650{)9, barred all actions arising
out of the Sttl)division l\/Iap Act filed after the QO-day statute of limitations He)is[er v, Ci'ty of

Glendale, 8 Cal.4th l (l994). .ln that case, the Supreine Court stated that;

As the Court of Appeal. recognized here and in Hunt, section 66499.37 applies
by its terms to any action involving a controversy over or arising out of the
Subdivision l\/lap Act. 'fherefore, if this is a claim arising out of application of
a land~use regulation authorized by that act, section 66499.37 applies Plaintiff
seeks to avoid application of section 66499.3'7 by arguing he does not
challenge the validity of the Glendale ordinance He seeks only compensation

 

4 By enacting this short limitations period, the Legislature intended "to provide certainty for
property owners and local governments regarding flocal zoning and planning decisionsl." Gov't Code
§ 65009 (a)(3.) ln light of these poiicies, courts have held that the time limits of § 65009 are to be
strictly construed Wagner v. Ci`z§v of 501th Pasadena, 78 Cal.App.¢lth 943 {20{)0), 950 § emphasis
added] [quori`iig Magi`mi v. Ci`ry oj"Gleiio’nle, 72 Cal.App.¢lth ll92 , l l09 (1999), Thus, "['l`}he courts
have consistently enforced the QO-day limit.“ Chz'ag, snpra, 60 CaiiAppidth at 893.

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for the taking he alleges Was effected by the ordinancex lie contends on that
basis that the statutes of limitation found in the Code of Civil Procedure govern
this action We disagree

Id. at p. 23 (cz`rz"ng Hunt v. Counry ofS/iasra, 225 Cal.App.$d 432 (l990))(emphasis in original).) 'l`he

Suprenie Coiirt concluded that:

This section is not, as plaintiff argues, limited to actions for specific relief lt
includes actions for compensation for a regulatory taking because the validity
of the ordinance or its application to the plaintiffs property, if uncompensated,
must be determined in the action_i.e., the court must determine if there has
been a taking Bet`ore he or she is entitled to any relief, either compensation or
exemption of the property from development restriction, the plaintiff rnust
establish that the ordinance, regulation, or administrative action is not lawful or
constitutionally valid if no compensation is paid. The action therefore comes
within the broad language ot` section 66499.37.

Id_ at 25. The same reasoning applies to the instant case, and bars Plaintiff from challenging the
City’s administrative determinations regarding his Application under any legal theory
As a consequence, the determinations of the BIC and the BOA are resjurli`carn, and preclude

the Plaintiff front challenging the City's refusal to issue a building permit in this action.

IIl, ANY CLAIMS BASED (}N THE CITY'S REFUSAL TO ISSUE A PERi\/{IT ARE
UNRIPE FOR ADJUI)ICATION.

Alternatively, to the extent that any of Plaintiffs claims are deemed to challenge the City's
refusal to issue a building permit (rather than the alleged unlawful delegation to a neighborhood
association_), such claims are unripe for adjudication Suits for equal protection are subi ect to the
requirement that the decision be ripe for revievv. .In the context of equal protection claims stemming
t`rorn the regulation of land use, this requirement includes a fact decision by the relevant government

authority Hoehne v. Couni‘y affirm Bem`ro, 870 F-.Zd 529, 532 (9m Ci'r. 1989).

ln suits for Wrongt`ul deprivation of property under 42 U.S.C. § l983, the same
considerations that render a claim premature prevent accrual of a claim for
limitations purposes, and the claim does not accrue until the relevant
governmental authorities have made a final decision on the fate of the property

Norco Constr. CoP v Kii:ig Co.uriry, SGl F.Zd ll43, l 145 (9th Cir_ lQS()); Mcrl/r’t`ffan v. Go{errr Wdter
Di'str,s`cr, 792 F.Zd 1553 (9th Cir. 1986)_ rl`he ”basic rationale” of the ripeness requirement "is to
prevent the courts§ through avoidance of premature adjudicationD from entangling themselves in

abstract disagreements over administrative policies, and also to protect the agencies from judicial

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interference until an administrative decision has been fonnaiized and its effects felt in a concrete way
by the challenging patties." ribbon Loborarorz`es v, Goro’ner, 387 U.S. 136, l48~l49 (1967). Tiie
Ninth Circnit has emphasized the heavy burden placed on plaintiffs seeking to establish constitutional

violations in the context of land use decisions

The Suprerne Cotirt has recognized that land»use planning is not an all~or-
nothing proposition A government entity is not required to permit a landowner
to develop property to the full extent it may desire Deniai of the intensive
development desired by a landowner does not preclude less intensive, but stili
valuabie development MneDonnld, 477 U.S. at 353, 106 S.Ct. at 2569. “The
local agencies charged with administering regulations governing property
development are singularly iiexibie institutions; what they take with the one
hand they may give back with the other.” Io'. at 35(}, 106 S.Ct_ at 2567. T}ie
property owner, therefore has n high burden ofprow'ng that ofznof decision
has been reached by the agency before if may seek connieensotomJ or injunctive
relz'efi'nfederol coan on federal constitutional grounds

.Hoeline, supra, 870 F-.Zd at 532-33 (emphasis added).

fn this case, the City has not issued a .tinal decision denying Plainti'l°i` a building permit fin
tact, such a decision Was continued_at `Piaintiff's request wwwww until Augost 2008. [RJN at Exh. l?..]
Since the City has not rendered a final decision as to the Appiication at issue in this case, any claims

based on the City's conduct with respect to such Application are not ripe for review under §1933.
CONCLUSION

For the foregoing reasons, the allegations of the Coniplaint and those facts of which this Court
may take judicial notice demonstrate that the claims for reiiet` set forth in the Coinplaint fail to state
facts sufficient to constitute a cause of action, that the Conrt lacks jurisdiction over such claims and
that the claims are untimely as a matter of law. On these bases, the City respectfully submits that its
motion to dismiss or5 in the alternative for summary judgment should be granted without leave to

amend as to ail claims for relief set forth in the Complaint,

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Dated: October 9, 2007

DENNIS J. HERRERA
City Attorney

KRISTEN A. JBNSEN
THOMAS S. LAKRITZ
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Deputy City Attorneys

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Attorneys for Dei`endant
CITY AND COUN'_FY ()F SAN FRANCESCO

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219 Fed.Appx. 679

219 Feci.Appx. 679, 2007 WL 187889 (C.AS (Cal.))
(Cite as: 219 Fed.Apr. 679)

Kay v. Placer County

C.A.Q (Cal.),.?()t)'?,
This case was not selected for publication in the

Fe-deral Reporter.i\lot for Ptlblicatiori in West's
Federal Reporter See Fed. Rule of Appellate
Procedure 32,1 generally governing citation of
§udiciai decisions issued Ori or after Jan. l, 2007.
See also Nintil Circtiit Rule 36-3. {Find CTA9 Rule
36-3)
United States Cou!t oi` Appeals,Ninth Circuit.
Robin KAY; Phiiip Kay, Plaintifis-Appellants,
v.
PLACER COUNTY; Placer Coiinty Board of
Supervisors; Piacer County Pianning Departinent;
Piacer Counry Parcel Review Cornmittee; Fred
Yeager; George Rosasco; Roy Kirkorian; Gayie
Kirkorian, Defendants-Appellees.
No. 05-15191.

Argued and Subniitted .lan. ll, 2007.
Filed J`an. 23, 2007`

Background: Property owners brought action
against their neighbors3 Cotlnty._ county's board of
supervisors planning department, and parcel review
committee7 and certain county officials alleging
that defendants violated their rights to due process
and equal protection by subdividing neighbors
property under the guise of a Minor Boundary Line
Adj'ustment (MBLA'). ’“[`he Unitcd States i)istrict
Court for the Eastern District of California,
lawrence K. Kariton, Senior ltldge, dismissed the
complaint, and property owners appealed

Holdings: The Court oprpeals held that:

{l) property owners did not have a right protected
by either Calitornia iaw or the Due Process Clause
to receive notice or an opportunity to be heard when
their neighbors first sought a MBLA;

(2) second MBLA of neighbors property did not

Page 1

deprive property owners of a property interest
protected under the Dne Process Ciause;

(3) county did not delegate its decisionmaking
authority to neighbors; and

(4) county did not violate property owners" equal
protection rights

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Wcst Headnotes
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92 Constitutional Law
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Appiications
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¢tl¢tll Vaiidity of Z,oning Regulations
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fillil<i$¢l Notice and iiearing
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Cases
Property owners did not have a right protected by
either California law or the Dne Process Clause to
receive notice or an opportunity to be heard when
their neighbors first sought a Minor Boundary Line
Adjiustrnent (MBLA), where they did not own the
property at that time, and decision to grant or deny
an .l\/lBl.-A was nondiscretionary U.S.CA_
Const.Amenti. l¢i_; West's Ann.Cal.Go\/.Code §
664§2(d).

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2§9 Fed.Appx. 679, 2007 WL 187889 (C.A.Q (Cal.)`)
(Cite as: 219 Fed.Appx. 679)

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Cases
Second Minor Boundary Line Adjnsnnent (MBLA)
of neighbors property did not deprive owners ot
adjoining property of a property interest protected
under the Due Process Clause, where it merely
addressed a setback vioIation, and property owners
received notice and a hearing before county granted
the i\/I`BLA. U.S.C.A. Const.Arncnd. 14.

[3§ Constitutional Law 92 €»`=’4093

92 Constitutional Law
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Zoning and Planning 414 €==°32

414 Zoning and P§anning

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4141{ Validity of Zoning R.eguiations
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Cases
Counry did not delegate its decisionmaking
authority to neignbors of owners of adjoining
property by snbdividing neighbors‘ property nnder
the guise of a Minor Bouridary Line Ad;`ustnient
(MBLA), and, thus, county did not violate property

owners' right to due process U.S.C.A.
Const.Arnend_ 14.
[4] Const`itutionai Law 92 €~`-“~`>3516
92 Constitutionai Law
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Applications

QZXXVI{E)B Property in Generaf
92§65§ § Zoning and Land Use
921<3516 k. Selective Enforcement.
Most Cited Cases

Zoning and Planning 414 ©=“*32

414 Zoning and Planning
41411 \/alidity ononing Regulations
4§4iI(A} In General
414§';32 le Boundary Lines. Most Cited

Cases
County did not violate property owners' equal
protection rights by subdividing neighbors properry
under the guise of a Minor Boundary Line
Ad_justinent (MBLA), where county did not single
property owners out for nni`avorab§e treatment
U.S_C.A. Const.Arnend. i¢t.

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'C 2007 "l`homson/West~ No Clairn to Orig. U.S. Govt. Works.

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219 Fed.Appx. 6"'/"9

219 Fed.Appx. 679, 2007 WL l87889 (C.A.9 (Cal.})
(Cite as: 239 Fed.Apr. 679)

Appeal front the Unitcd States District Court for the
Eastern District ot` Calit`ornia1 Lawrence K. Karlton,
Senior ludge, i’residing. D.C_ No.
CV-04-007 l 9-LKK.

Bet`ore: GOODWlN and_W. FLBTCHER, Circuit
tuages, and notLANo §‘i"‘*, prima ridge

FN* Thc l~lonorable H. Russel Holland_.
Se'nior United States .District lodge for the
District ofAlasl<a, sitting by designation

MEMORANDUl\/l

FN** '.l`his disposition is not appropriate
for publication and is not precedent except
as provided by 9th Cir. R. 36»3.

**l Plaintiff-Appeilants Philip and Robin .Kay (“the
Kays”) appeal the district court's decision to dismiss
their suit for failure to state a clairn. The Kays
allege that Placer County and related parties (“the
County"}, together with Roy and Gayle Kir§<orian (“
the Kirkorians"’), violated their rights to due process
and equal protection by subdividing the Kirkorians'
property under the guise of a Minor Bonndary time
Adjustrnent (“i\/IBLA”}. Al`ter reviewing the
district court's decision de novo_._ accepting all facts
alleged in the complaint as true and construing thein
in the light rnost favorable to the nonmoving party,
rsee, e.g., Km`evel v. ESPN, 393 F.§Cl 1068, l0'!2
(9th Cir.2005), we aflirrn.

The district court held that the Kays did not have
standing to challenge the County's first boundary
line adjustment We conclude that the Kays have
satisfied the requirements of Article ill standing
See Fr'iend,s of the Earolz, Inc. th Lat`rz'lrrw Envtl'.
Sen’s. (TOC), lnc., 528 U.S. l67, 130-81, l20 S.Ct.
693, 145 L_Ed.2d 610 (2000). However, we agree
with the district court that the Kays' procedural due
process claim with respect to the inst MBLA
nevertheless fails as a rnatter of law_

[l] The first boundary line adiustinent took place
before the Kays purchased the property A'ny
notice, had it been given, therefore would have

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gone to the previous owners rather than to the Kays.
llowever, neither California law nor the Due
Process Clause requires that property owners
receive notice or an opportunity to be heard when
their neighbors seek MBLAS. 'l`his is because the
decision to grant or deny an MBLA is
nondiscretionary SeeCal. Gov.Code § 66412(d);
Srm Dz'eguz'ro P'.s'hr`p, L.P. r=_ City ofSan Dz`ego, 7
Cal.App.dtl'l 74§§, 760, 9 Cai.Rptr.Zd 440
(Cal.Ct.App. 1992).

lite Kays attempt to get around this difficulty by
alleging that the County wrongly concluded that the
Kirl<orians' property consisted of two separate
parcels Had the County found that the Kirkorians
were subdividing a single parcel rather than
adjusting the boundary between two existing
parcels, the County would have *681 been required
to reject the Kirkorians* first l\/EBLA application
Perhaps the County`s decision was in error, or
perhaps the County did not follow established
procedures when it determined that the Kirkorians
owned two separate parceis, but, if so, these were
not errors of federal law. See Barclrry v. Flor'z`rfrr,
463 U.S. 939, 957-58_, l03 S.Ct. 3418, 77 L.Ed.Zd
1134 {1983} (“§M]ere errors of state law are not the
concern or this Court unless they rise for sorne
other reason to the level of a denial ot` rights
protected by the United States Constitntion.”);
Jrzrnmal' v. ch de Krrmp_, 926 F.Zd 918, 919-20 (ch
Cir.l99i) (“The issue for us, always, is whether the
state proceedings satisfied due process; the
presence or absence otq a state law violation is
largely beside the point.”); cf. WMX T`echs'., face
v. Mz`l[er~, 80 F.Sd 1315, 2319 (ch Cir.1996) (‘“The
Due Process Clause does not, by its own force,
extend individuals a right to be free of injury
wherever a state is characterized as the tortfeasor.
lite Fourteenth Arnendrnent is not a font of tort law
to be superimposed upon whatever systems may
already be administered by the States.”) (internal
quotation marks omittcdl.

"‘*2 [2] ”l`he Kays' procedural due process claim
with respect to the second MBLA fails as well

lite second MBl.A, which merely addressed a
setback violation, did not deprive the Kays of a
protected property interest Moreover, the Kays
received notice and a hearing before the County

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219 Fed.App)t. 679, 2007 WL lS'/`SS9 (C.A\Q (Cal_))
(Cite as: 219 Fed.Appx. 679)

granted the second MBLA.

l'he Kays also have failed to state a substantive due
process claim When “dealing with abusive
executive action only the most egregious official
conduct can be said to be arbitrary in the
constitutional sense.” Cowr!.y of Sctcromenr`o v.
Lewt`s, 523 U.S. 833, 846, ll§l S.Ct. 1708, 140
L.Bd.?_d 1043 (1998} (interna§ quotation marks
omitted); see also /frmencftrri: v. Penmcm, 75 F.Bd
l3ll, l3l8~19 (9th Cir.l996} (en banc_) (noting that
"the use of substantive due process to extend
constitutional protection to economic and property
rights has been largely discredited”). lite
complaint offers only the unsupported legal
conclusion that the County granted the l<lirl<orians'
l\/IBLA applications arbitrarily and in bad faith
We need not “assume the truth of legal conclusions
merely because they are cast in the forro of factual
allegations.” W. Mining Councif v. Warr, 643 F.Zd
618,624(91h Cir.lQSl)_

[3] 'l`he Kays' final due process claim alleges an
improper delegation of authority from the County to
the Kirkoriaris. The extent to which state actors
niay delegate government functions is, in the first
instancer a question of state law. Even if federal
law is implicated the complaint does no more than
state the legal conclusion that an unlawful
delegation occurred lhat conclusion is
contradicted by the facts alleged in the corn_plaint,
which indicate that the County did not delegate its
decisionmaking authority to the Kirkorians.

[4] As to the Kays' equal protection claim, the
district court correctly found no violation as a
matter of law. The Kays have not alleged that they
were “intentionally treated differently front others
similarly situated and that there [was] no rational
basis for the difference in treatmeot.” Squaw l/olley
Dev. C`or ii Go."a'bei'g, 375 F-.f‘)d 936, 944 (9th
Cir.2004) _{iriternal quotation marks omitted)_

Given that the Kays did not purchase their property
until after the first MBLA was issued7 they cannot
allege that the Count_v Singled them out for
unfavorable treatment See, cg Tliorntot! i’. Ci`ty
of Sr. Helens, 425 P.}d IISS, 2167 (ch Cirt2005)
(rioting that courts must be able to identify “the
factor motivating the alleged discrimination”).

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i\/loreover, we apply the *682 same highly
deferential rationality standard _in both the
substantive due process and equal protection
contexts See Armeridorr'z, 75 F.Bd at 1326 n. ll.
'l.`he Kays’ unsupported legal conclusions are
insufficient to support either claim

Because the Kays have not stated a constitutional
claim, their effort to hold the Kirl<orians liable
pursuant to 42 U.S.C. §§ 1983 and l985(3)
necessarily fails

lite Kays argue that they should be granted leave to
amend their complaint We conclude that
amendment would be futile and that the district
courts decision to dismiss with prejudice and
without leave to amend was appropriate The Kays
have sought to recast what are, at best, state-law
claims into federal causes of action Amendnient
will not cure this fundamental ilaw.

**3 AFFlRl\/lED.

C.A.9 (Cal,),2007.

Kay v. Placer County

219 Fed.Appx. 6?9, 2007 WL 187889 (C.A.9
(Cal.))

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